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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN

FRANCINE ZYSK,

       Plaintiff,                                  Case No. 3:18-cv-10639
                                                   Hon. Robert H. Cleland
v                                                  Mag. Judge Stephanie Dawkins Davis

THERESA M. BRENNAN, in her
individual and official capacities,
MIRIAM CAVANAUGH, in her
individual and official capacities,

       Defendants.

 James K. Fett (P39461)                T. Joseph Seward (P35095)
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 Attorneys for Plaintiff               Attorneys for Defendant Theresa M. Brennan

    Reply to Defendant’s Response to Plaintiff’s Motion
                      for Discovery


       The good cause standard for early discovery is inapplicable because this Court has issued

Practice Guidelines which place cases assigned to Judge Cleland within the exception (bolded

language) in FRCP 26(d)(1):

              [The parties]…may not seek discovery from any source before the parties have
              conferred as required by Rule 26(b), except … when authorized by court order.
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         The pertinent Practice Guideline excerpt states:

                  i.        Early discovery: The Court expects the parties to conduct early
                            discovery by agreement although Rule 26(b) does not authorize court
                            sanctioned discovery prior to the initial attorney’s conference.

         Plaintiff does not seek to impose burdensome discovery on Defendants. She is

content to defer the deposition of Defendant until after the Judicial Tenure Proceedings

which begin today, October 1. She would, however, like to subpoena documents from

third parties, including Livingston County and current and former county employees,

which would impose no burden on Defendant.

         Accordingly, Plaintiff requests this Court to issue an order allowing her to issue

subpoenas to third parties.

                                                        Respectfully submitted,

                                                        /s/ James K. Fett
                                                        By: James K. Fett (P39461)
                                                        Fett & Fields, P.C.
                                                        805 E. Main St.
                                                        Pinckney, MI 48169
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                                                        jim@fettlaw.com
Dated: October 1, 2018                                  Attorneys for Plaintiff
                                                   Affidavit of Mailing
I hereby certify that on October 1, 2018, I electronically filed the foregoing paper with the Clerk of the Court using the
ECF system which will send notification of such filing to the following: T. Joseph Seward.

                                                        /s/ James K. Fett
                                                        James K. Fett (P39461)
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